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                           GARTMAN vs. QCHC, et al.
               IN THE UNITED STATES DISTRICT COURT FOR
                    THE MIDDLE DISTRICT OF ALABAMA
                            Case No. 2:18-cv-534-MHT


            Revised Preliminary Expert Report of Michael McMunn
I am Board-Certified Family Nurse Practitioner with additional certification in
correctional healthcare. I have 25 years of experience as a registered nurse and 21
years of experience as a nurse practitioner. I have worked in correctional healthcare
for 19 years and I have been certified for 14 years in correctional healthcare. I
currently devote more than 50% of my professional time to active clinical practice
in correctional facilities. I have provided clinical services in more than 50
correctional facilities over the course of my career.


        I. Information Reviewed and Relied Upon in Forming my Opinions
I have worked in correctional facilities of similar size, scope, census and staffing. I
have functioned in similar clinical roles in over 50 jail correctional settings. I have
supervised physician assistants, nurse practitioners, registered nurses and licensed
practical nurses. I possess experience to form an opinion about the relevant matters
in this case. In formulating my opinions in this matter, I have relied on my education,
knowledge and experience in the correctional healthcare industry as set forth above
and in my curriculum vitae, which is attached as Exhibit A. My fee schedule is
attached as Exhibit B. I reviewed and relied upon the following documents and data
in connection with this case. As of the time of the production of this report I have
not received access to several relevant depositions including those of the Defendants
in this case. I reserve the right to modify my findings if new information or
documents are later received:
   1.   (5) Audio files, notes
   2.   Gartman Deposition #1, NOD, 41 Pictures
   3.   Gartman Deposition #2, + 8 Exhibits
   4.   Agee Deposition #1 + 2 Exhibits, + Affidavit
   5.   Ball Deposition + 10 exhibits
   6.   Grady Interrogatories
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   7. Jackson Hospital Records (focused review)
   8. 3rd Amended Complaint
   9. 61 Pictures
   10. QCHC Documents
   11. Baptist Health Records
   12. Cardiology Records
   13. Docs from Gartman, list of providers
   14. Jackson Clinic Cardiology, 2 volumes
   15. 9 Audio recordings
   16. QCHC Medical Record
   17. 2014 National Commission on Correctional Healthcare Standards
      (NCCHC)
   18. MAC 1200 EKG – Cleaning, disinfection, and maintenance requirements.

                        II. Statement of Opinions and Factual Basis

   a. Mr. Gartman’s relevant medical history-

       1. 7-1-2007 – Cardiac Cath with Stent
       2. 5-2-2010 - (AICD) Implanted defibrillator
       3. 7-11-2012 – Cardiac Cath
       4. 1-19-2015 – Doppler Echo – 40-45% Ejection Fraction
       5. 5-26-2016 – Cardiac Cath with Stent
       6. 5-28-2016 – Doppler Echo – 30-35% Ejection Fraction (after jail stay)
       7. 5-28-2016 - Non-ST elevation Myocardial Infarction
       8. Atrial Fibrillation
       9. Cardiomyopathy
       10. Coronary Artery Disease
       11. Hypertension
       12. Hyperlipidemia
       13. Chronic Obstructive Pulmonary Disease (COPD)
       14. Anxiety Disorder
       15. Depression
       16. Gastro Esophageal Reflux (GERD)
       17. Back and Knee Surgery
       18. Carpal Tunnel Release Surgery
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   b. Mr. Gartman’s relevant offered medication history -

       1. None. Mr. Gartman was denied the medications brought to the facility
          by his parents and the nursing-medical staff provided no medications.


   c. Relevant timeline-
1. May 25, 2016 2132 Intake completed. Staff advised of Respiratory problems,
High Blood Pressure, Heart Problems, Heart Disease and need for current
medications.
2. May 25, 2016 2300 Parents brought medications to facility. Not accepted and
not provided to Mr. Gartman.
3. May 26, 2016 0221 Shortness of breath and chest pain noted, no orders and no
referral to hospital. Lisa Brady LPN advises that she will see him when she comes
in the morning.
4. May 26, 2016      0400 Housing change.
5. May 26, 2016      0530-1200 No documented evaluation by Lisa Brady LPN.
6. May 26, 2016 1400 Lisa Brady LPN evaluates Mr. Gartman. Documented
assessment of questionable origin has multiple deficits and blank areas. No EKG
ordered. No medications provided. First defibrillator shock applied in her presence,
resulted in no additional assessment, EKG order or medications. Sent out of office,
back to cell.
7. May 26, 2016      1442 Defibrillator (AICD) shocks Mr. Gartman
8. May 26, 2016      1514 Defibrillator (AICD) shocks Mr. Gartman, twice
9. May 26, 2016      1515 Defibrillator (AICD) shocks Mr. Gartman
10. May 26, 2016 1516 Defibrillator (AICD) shocks Mr. Gartman
11. May 26, 2016 1517 Defibrillator (AICD) shocks Mr. Gartman, twice
12. May 26, 2016 1519 Defibrillator (AICD) shocks Mr. Gartman
13. May 26, 2016 1520 Defibrillator (AICD) shocks Mr. Gartman
14. May 26, 2016 1522 Defibrillator (AICD) shocks Mr. Gartman
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15. May 26, 2016 1523 Defibrillator (AICD) shocks Mr. Gartman
16. May 26, 2016 1525 Defibrillator (AICD) shocks Mr. Gartman
17. May 26, 2016 1537 Defibrillator (AICD) shocks Mr. Gartman
18. May 26, 2016 1538 Defibrillator (AICD) shocks Mr. Gartman
19. May 26, 2016 1544 Defibrillator (AICD) shocks Mr. Gartman
20. May 26, 2016 1651 Defibrillator (AICD) shocks Mr. Gartman
21. May 26, 2016 1651 Defibrillator (AICD) shocks Mr. Gartman
22. May 26, 2016 1652 Defibrillator (AICD) shocks Mr. Gartman
23. May 26, 2016 1652 Defibrillator (AICD) shocks Mr. Gartman
24. May 26, 2016 1653 Defibrillator (AICD) shocks Mr. Gartman
25. May 26, 2016 1654 Defibrillator (AICD) shocks Mr. Gartman
26. May 26, 2016 1655 Defibrillator (AICD) shocks Mr. Gartman
27. May 26, 2016 1656 Defibrillator (AICD) shocks Mr. Gartman
28. May 26, 2016 1658 Defibrillator (AICD) shocks Mr. Gartman
29. May 26, 2016 1659 Defibrillator (AICD) shocks Mr. Gartman
30. May 26, 2016 1712 Mr. Gartman released from custody and EMS activated.
31. May 28, 2018         Diagnostics at hospital reveal decreased ejection fraction,
cardiac enzymes from 10 to 80 times above normal and a significant Non-ST
elevation Myocardial Infarction.


Deliberate Indifference Standard –
A standard in which a patient inmate is subjected to conditions that pose a substantial
risk of serious harm and in which the medical staff member or provider treating the
patient was aware of the conditions creating that risk and acted with a state of mind
akin to recklessness, or in which they deliberately and unjustifiably follow a course
of action without regard to the risks involved.
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       Relevant Research –
1.     2014 National Commission on Correctional Healthcare Standards (NCCHC)
2.     MAC 1200 EKG Machine - Cleaning, disinfection, and maintenance
       requirements.
     d. Conclusions
                         Lateshia Ball (LPN) providing care
It is my expert opinion that the actions of Lateshia Ball LPN providing care to Mr.
Gartman did not meet the standard of care for a correctional healthcare setting. His
presentation required additional and immediate actions. Mr. Gartman had serious
medical needs as described above. Nurse Ball was aware of those needs and failed
to provide Mr. Gartman the basic care necessary to treat those needs. Her actions or
failures to act were unjustifiable under the circumstances and posed a serious risk of
harm to Mr. Gartman. The actions or omissions that she engaged in that can be
discerned directly from the medical records themselves include, but are not
necessarily limited to:
1. Failure to secure medically required medications.
2. Failure to secure a medically required referral to emergency room/hospital.
3. Failure to activate EMS/paramedics at first activation of defibrillator.
4. Subjecting Mr. Gartman to 27 documented defibrillator shocks without referral.
5. Failure to process intake properly.
6. Failure to process intake history/physical properly.
7. Failure to refer to provider, doctor, corporate medical director.
8. Failure to inspect, maintain and utilize crucial diagnostic equipment (EKG).
9. Permission/Authorization of late release of medical record of questionable origin.
                           Lisa Brady (RN) providing care
It is my expert opinion that the actions of Lisa Brady RN providing care to Mr.
Gartman did not meet the standard of care for a correctional healthcare setting. His
presentation required additional and immediate actions. Mr. Gartman had serious
medical needs as described above. Nurse Brady was aware of those needs and failed
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to provide Mr. Gartman the basic care necessary to treat those needs. Her actions or
failures to act were unjustifiable under the circumstances and posed a serious risk of
harm to Mr. Gartman. The actions or omissions that she engaged in that can be
discerned directly from the medical records themselves include, but are not
necessarily limited to:
1. Failure to secure medically required medications.
2. Failure to secure a medically required referral to emergency room/hospital.
3. Failure to activate EMS/paramedics at first activation of defibrillator.
4. Subjecting Mr. Gartman to 27 documented defibrillator shocks without referral.
5. Failure to process intake properly.
6. Failure to process intake and history/physical properly.
7. Failure to refer to provider, doctor, corporate medical director.
8. Failure to inspect, maintain and utilize crucial diagnostic equipment (EKG).
9. Permission/Authorization of late release of medical record of questionable origin


                         Nursing Care Specific Causation Finding
More likely than not, the nursing care failures by Ms. Ball and Ms. Brady, as noted
above, contributed to Mr. Gartman’s unnecessary pain, anxiety, suffering and
cardiac damage due treatment failure of his documented serious need. Mr.
Gartman’s likelihood of reduced pain, reduced anxiety and improved outcomes with
proper medications and a timely referral to the emergency room/hospital, would
have been significantly higher.


                          OTHER GENERAL OPINIONS
1.     Based on my education, experience in chart review, experience in corrections
and experience of reviewing 92 correctional healthcare cases. The second chart
produced at the Brady deposition was more likely than not, NOT created at the time
of Mr. Gartman’s incarceration. It was likely generated later to address serious flaws
in the documentation and treatment of Mr. Gartman.
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2.     Even if considered legitimate, charting deficiencies reveal a consistent pattern
of failure to meet the standard of care for Mr. Gartman’s serious medical need.
3.    Documentation quality and compliance with written policies was below the
standard of care and indicates a culture of disregard for inmate care in this facility.
4.     Failure to administer medications was below the standard of care and failed
to treat his serious medical need. Nurses in a correctional setting are charged with
responsibility for administering medications and know that such administration is
expected of them. A pattern of failure to provide such medications shows a reckless
disregard for the safety of a patient or patients.
5.     Failure to timely transport Mr. Gartman to the emergency room/hospital was
below the standard of care and was either deliberate or unjustifiable in view of the
risks to Mr. Gartman’s health and safety.
6.    Failure to properly maintain and inspect the EKG machine was below the
standard of care. QCHC is responsible for periodic inspections to ensure
compliance.
7.    Failure to provide proper training and supervision was below the standard of
care. Which included no corrective action by QCHC medical director, Dr. Kern,
when made aware.
8.     In summary; written documentation, sub-standard care and policy violations
reveal a culture of indifference by QCHC and its employed nurses in this facility.
This resulted in significant avoidable pain, suffering, anxiety, and permanent cardiac
damage to Mr. Gartman.


                                    III. Exhibits
Exhibits listed within this report may be used in future testimony.


                                  IV. Qualifications
My qualifications are attached on my Curriculum Vitae, which is attached as Exhibit
A. I am qualified to testify in this case due to my extensive experience working in
correctional care facilities and in correctional health.
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                                   V. Testimony
I have been retained in 92 cases, with sizable shares by Plaintiff and Defendant. I
have testified via deposition in the following 17 times:
     Laudermilk vs. CCS – Maine Superior Court - DOCKET NO. CV-17-25
 Nishimoto vs. San Diego – US Southern District of California - Case No. 16-cv-
                           1974 BEN JMA (twice)
Moriarty vs. San Diego – US Southern District of California - Case No. 3:17-CV-
                              01154-LAB-AGS
        Calvin vs. Pima County – Arizona Superior Court - No. C20164699
   Milline vs. CCS - United States District Court - Michigan Southern Division -
                             Case No. 2:17-cv-12723
  Stahlhut vs. Corizon – United States District Court – District of Arizona – Case
                          No. CV-17-03100-DJH-MHB
    Alexander vs. Corizon – United States District Court – Michigan Southern
                   Division – Case No. 17-11435 & 17-13749
        Gaines vs. Corizon – Superior Court of Arizona – CV2016 – 000823
Hannah vs. Armor – United States District Court – Southern Florida Division 8:19-
                              cv-00596-JSM-SP
    Power vs. State of Arizona – Superior Court of Arizona - CV2018 - 008861
 McKee vs. CCS and Corizon – United States District Court – Western District of
      Arkansas – Hot Springs Division - Case No. 6:18-CV-06117-RTD
  Kovalovsky vs. Mediko, et al. - United States District Court – District of South
      Carolina – Florence Division - Case No. 420-CV-00835-DCN-TER
 Vester vs. QCHC, INC. et al. – United States District Court – Western Section of
          Tennessee – Western Division - Case No. 2220-cv-2401-SHL
  Smith vs. Shy, et.al – United States District Court – District of Colorado - Civil
                         Action No. 19-cv-02338-PAB-STV
  Board vs. Primecare, et al - Circuit Court of Kanawha County, West Virginia -
                            Civil Action No. 18-C-456
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Exhibit A – Current Curriculum Vitae


          Dr. Michael McMunn DNP CCHP-A
          Expert Witness – Correctional Healthcare NP


                            Contact      Summary
    4110 Lakeside Blvd. Monroe GA          Expert regarding Standard of Care determination in correctional healthcare
                            30655            settings for NP, PA, RN, LPN, CNA, MA and EMT function. Advanced
                     770-712-2210              Certification in Correctional Healthcare (CCHP-A), per the National
     contact@michaelmcmunn.com                          Commission on Correctional Healthcare (NCCHC).
                                            Expert regarding Georgia correctional facilities, policies, current legal and
                                           political trends. Experience with Diagnostic Facilities, State Prisons, CI's,
                                                  PDC's, Transitional Centers, YDC's, RYDC's and County Jails.

                         Education       Experience
          University of North Georgia    Nurse Practitioner (APRN) - Southern Health Partners           2002 to Present
    DNP Nursing – Graduation 2021
 Doctoral Project – Rural Jail Suicide   Nurse Practitioner (APRN) - Vista Healthcare Partners          2002 to 2020
   Coursework – Risk Management
                                         Nurse Practitioner (APRN) - CareATC – Monroe                   2014 to 2019
        Medical College of Georgia
    MSN Nursing – Graduation 2000        Project Manager - The Little Clinic                            2008 to 2011

                 Brenau University       Clinic and Project Development - MinuteClinic                  2005 to 2008
    BSN Nursing – Graduation 1997
                                         College Instructor - Medical College of Georgia                2002 to 2005
         Athens Technical College
    ADN Nursing – Graduation 1996        Clinic Director – The Bridge Institute (GA DJJ)                2001 to 2002

                Emmanuel College
     AA Religion – Graduation 1987

            NCCHC Certifications         Licenses, Qualifications, Memberships and Certifications
       CCHP-A – Advanced - 2020          ANCC board certified as Family Nurse Practitioner since 2000
   CCHP-MH – Mental Health - 2013        Licensed in Georgia as a RN and APRN (FNP)
                    CCHP - 2007          Current DEA authorization
                                         Content Reviewer – Journal of Correctional Health
                        Moderator
  2019 NCCHC National Conference         Member – Georgia Nursing Congress, Correctional Healthcare – 2 Terms
          Prison Standards Review        Member – Academy of Correctional Professionals, ACA, GJA, and GSA

                                         Previous Expert Witness Testimony Jurisdictions
                                         Alabama        Arizona       Arkansas         California     Colorado
                                         Florida        Georgia       Illinois         Indiana        Kansas
                                         Kentucky       Louisiana     Massachusetts    Maryland       Maine
                                         Michigan       Montana        New Jersey      N. Dakota      Ohio    Oregon
                                         Pennsylvania   S. Carolina   Tennessee        Virginia       West Virginia
                                         Georgia Peace Officers Standards Training Council (POST)
                                         2021 Approved Trainer – Suicide Prevention Training in County Jails
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 Exhibit B – 2020 Fee Schedule




                                                 Expert Witness – Fee Schedule
              Dr. MICHAEL MCMUNN, APRN, DNP-BC, CCHP-A
  Effective 5/1/21 – 12/31/21                             Activity                                                             Rate

Review Expert Services
 e activity, 30+ days before any verbal or written report is due.                                                            $325/Hour
Rates for Case Review Expert Services
 an 30 Full days before any verbal or written report is due.                                                                 $500/Hour
                                            Testifying for Deposition

                       Fee must be paid in advance by requesting attorney, a minimum of 21 days prior.                           $2,000
                                                                                                                               Flat Rate
                                If cancelled or rescheduled, 21 or more days prior, full refund.                             0.0-4.0 hours
                                   If cancelled or rescheduled, 8-20 days prior, 50% refund.
             If cancelled or rescheduled, less than 7 days prior, no refund and no rescheduling without new fee.             $500.00/Hour
                                                                                                                               thereafter
                       All estimated travel expenses must be paid by requesting attorney, 21 days prior.

      Half day rate is arrival time to departure time at location, 4 hours. Continued questioning after 4 hours is billed.

                            Testifying for Panel Hearings, Trials, Arbitrations, and Mediations

                       Fee must be paid in advance by requesting attorney, a minimum of 21 days prior.                         $5,000 per
                                                                                                                               Trial Day
                           If cancelled or rescheduled, 21 or more business days prior, full refund.                            Flat Rate
                              If cancelled or rescheduled, 8-20 business days prior, 50% refund.                             0.0-8.0 hours
        If cancelled or rescheduled, less than 7 business days prior, no refund and no rescheduling without new fee.
                                                                                                                             $500.00/Hour
                       All estimated travel expenses must be paid by requesting attorney, 21 days prior.
                                                                                                                               thereafter
     Rate is arrival to departure time at location., 0.0-8.0 hours. Time per day greater than 8 hours is billed @ $500 hr.

                                          Travel Time for Testifying
   Maximum 8 hours per day. Overnight travel will be billed at 8 hours per day. Time calculated door to door.                $250.00/Hour
                                               Billable Expenses                                                                At Cost
                     Billable expenses for supplies, postage, services, etc. are billed at cost.                             $100 Daily for
                     Meals while traveling - $100 per any portion of a day, flat rate. Prepaid.                                  Meals
 er – Rate is based on time remaining when funds/documents arrive until advised deadline

                           60+ days until verbal or written report                                          $3,000 - includes first 8 hours
0 is required before any services will be performed. This credit includes the first 8 hours of activity    of review. $325 per hour for all
                                    and is non-refundable.                                                    review time over 8 hours.

                          31-59 days until verbal or written report                                        $4,000 - includes first 8 hours
0 is required before any services will be performed. This credit includes the first 8 hours of activity
                                                                                                           of review. $325 per hour for all
                                    and is non-refundable.
                                                                                                              review time over 8 hours.
                          16-30 days until verbal or written report
0 is required before any services will be performed. This credit includes the first 8 hours of activity     $5,000 - includes first 8 hours
                                    and is non-refundable.                                                 of review. $500 per hour for all
                                                                                                              review time over 8 hours.
                           1-15 days until verbal or written report
0 is required before any services will be performed. This credit includes the first 8 hours of activity     $8,000 - includes first 8 hours
                                    and is non-refundable.                                                 of review. $500 per hour for all
                                                                                                              review time over 8 hours.

ices will generally be submitted at the end of each month. Invoices must be paid within 30 days, or case activity
 suspended until account is zero balance. Balances 60+ days past due will be assessed a 5% monthly fee charged                REQUIRED
 1st of each month until paid in full. Zero balance required for all document release and depositions. If short                TERMS
ine, inquire about estimate to complete. Submission of retainer constitutes absolute agreement with fee schedule
ms and rates. Date for deposition is only reserved with payment. Do not use USPS for time critical payments.
